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A0 245B (Rev 06/05) Sheel 1 - Judgment ma Crirmnal Case


                            UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE

                                                               CASE NUMBER:        8:06-cr-357-T-30EA.I
                                                               USM NUMBER:         48927-018



JONATHON CRAIG SEXTON
                                                               Defendant's Attorney: Scott Robm, cja.

THE DEFENDANT:

X pleaded guilty to count(s) ONE of the Indictment.
-
-pleaded nolo contendere to count(s) which was accepted by the coua.
- was found guilty on wunt(s) after a plea of not guilty.

TITLE & SECTION                     NATURE OF OFFENSE                            OFFENSE ENDED                      COUNT
21 U.S.C. §841(a)(1) and            Possession with the Intent to Distribute July 9, 2006                            One
84l(b)(l)(A)(viii)                  500 Grams or more of Methamphetamine


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Refonn Act of 1984.

- The defendant has been found not guilty on count(s)
X Count(s) TWO of the Indictment is dismissed on the motion of the United States.
-
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mdmg address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the c o w and United States Attorney of any material change in economic
circumstances.


                                                                                 Date of Imposition of Sentence: February 15, 2007




                                                                                 DATE: February ~ 3 , 2 0 0 7
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A 0 245B (Rev 06/05) Sheet 2 - I~nprisonrnent(Judgment in a Criminal Case)
Defendant:         JONATHON CRAIG SEXTON                                                                   Judgment - Page    2 of 6
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        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. §§
3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of ONE HUNDRED AND EIGHTY-EIGHT (188) MONTHS.



X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI
Coleman (FL). if possible.



-
X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          - at -a.m./p.m. on -.
          - as notified by the United States Marshal.
-The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          -before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notitied by the Probation or Pretrial Services Oftice.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to

- at                                                                              , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                        By:
                                                                                         Deputy United States Marshal
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A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:         JONATHON CRAIG SEXTON                                                               Judgment - Page 3of 6
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                                                          SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to
Count One of the Indictment.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons,

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.


          If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the pcnnission of the court or probation ofticer;

          the defendant shall report to the probation ofiicer and shall submit a truthful and complete written reporl within the first five days of each
          month;

          the defendant shall answcr truthfully all inquiries by the probation officer and follow the instructions of the probation otl5cer;

          the defendant shall support his or her dependents and meet other family responsibilities;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employnent;

           the defendant shall refrain from excessive use of alcohol and shall not purchase. possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances. except as prescribed by a physician;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation otXcer;

           the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall perniit confiscation of any
           contraband observed in plain view of the probation officer;

           the defendant shall notify the probation ofticer within scvcnty-hvo hours of bcing al-rcsted or questioned by a law cnforccnient officer;

           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agcncy without the
           perniission of the court; and

           as directed by the probation ofticcr, thc defendant shall notify third partics of risks that may bc occasioncd by the defendant's crirninal record
           or personal history or characteristics and shall pennit the probation officer to make such notitications and to conl-inn the defendant's
           compliance with such notitication requirement.
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A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)
                                                                                                           -    -   -      -



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                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:


         The defendant shall participate, as directed by the Probation Officer, in a program (outpatient andlor inpatient) for treatment
         of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use or
         abuse. Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
         amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment Services.
         The defendant shall participate as directed in a program of mental health treatment approved by the Probation Officer.
         Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount
         determined reasonable to by Probation Officer based on ability to pay or availability of third party payment and in
         conformance with the Probation Office's Sliding Scale for Mental Health Treatment Services.
         The defendant shall cooperate in the collection of DNA as directed by the probation officer.
         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes random
         drug testing not to exceed 104 tests per year.
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A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penallies (Judgment in a Criminal Case)
Defendant:         JONATHON CRAIG SEXTON                                                    Judgment - Page 5--     of 6
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                                          CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                          -
                                                                Fine                        Total Restitution

                                                                 Waived


-         The determination of restitution is deferred until        .     An Amended Judginent in a Criminal Case ( A 0 245C) will
          be entered after such determination.
-         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment. each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the. p~iorityorder or.percentage pa ment column below. However, pursuant to 18 U .S .C. 8
          3664(i), all non-federal v~ctunsmust be pald before the dnited States.


 Name of Pavee                                Total Loss*                 Restitution Ordered                 Prioritv or Percentwe




                            Totals:           I L                         L

 -        Restitution amount ordered pursuant to plea agreement $
 -        The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 3 3612(g).

 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         -        the interest requirement is waived for the - f i e       - restitution.

         -        the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 10A, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05)Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:        JONATHON CRAIG SEXTON                                                    Judgment - Page 6of 6
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                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X        Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                   ?   or
                            -in accordance - C, - D, - E or - F below: or
         -        Payment to begin immediately (may be combined with -C.                       D. or -F below): or
C.       -        Payment in equal                   (e.g ., weekly. monthly, quarterly) installments of $             over a
                  period -of-        (e .g ., months or years). to commence               days (e.g., 30 or 60 days) after the
                  date of this judgment: or
D.       -        Payment in equal                 (e.g.. weekly, monthly. quarterly) installments of $              over a
                  period of
                               , (e.g ., months or years) to commence                     (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
E.       -       Payment during the term of supervised release will commence within                          (e.g., 30 or
                 60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
         the defendant s ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program. are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X        The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
(5) fine interest, (6) community restitution. (7) penalties, and (8) costs, including cost of prosecution and court costs.
